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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                             Senior Judge John L. Kane


Date: June 18, 2018                                   Deputy Clerk: Bernique Abiakam
                                                      Court Reporter: Terri Lindblom

Interpreter: Irina Kamensky

Criminal Action No.:12-cr-00033-JLK-1

UNITED STATES OF AMERICA,                             Gregory A. Holloway
                                                      Julia K. Martinez

      Plaintiff,

v.

1.    JAMSHID MUHTOROV,                               Kathryn J. Stimson
                                                      Brian R. Leedy
                                                      Warren R. Williamson

      Defendant.


                         AMENDED COURTROOM MINUTES

Jury Trial Day 17

All members of the Jury were expected to arrive at 9:00 a.m. to resume deliberations.

Juror #565 is excused, due to a family emergency, and replaced with the 1st randomly
selected alternate, Juror #549

ORDERED: Jury shall cease deliberations until today’s Evidentiary Hearing is
         completed.

ORDERED: The Clerk’s Office is directed to provide lunch for the 12 deliberating
Jurors plus 3 alternate Jurors in this case.

1:44 p.m.     ORDERED: Jury may resume deliberations.


The Jury recessed deliberations at 4:20 p.m. The Jury tendered a “Jury Note” stating
that deliberations will resume Tuesday, June 19, 2018 at 9:00 a.m.
